                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:13-00069
                                                )      JUDGE CAMPBELL
WILLIAM COFFEE, JR.                             )

                                         ORDER

      Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 151) currently scheduled for January 15, 2014. The Motion is GRANTED.

      The sentencing hearing is RESCHEDULED for January 30, 2014, at 9:00 a.m.

      It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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